



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In the Court of Appeals

  
    
      
        James Dean Bolin, Petitioner, 
        v.
        State of South Carolina, Respondent.
      
    
  


ON WRIT OF CERTIORARI

Appeal from Cherokee County
J. Mark Hayes, II, Circuit Court Judge
J. Derham Cole, Post-Conviction Relief Judge

Unpublished Opinion No. 2009-UP-072
Submitted February 2, 2009  Filed February 10, 2009

APPEAL DISMISSED


  
    
      
        Appellate
          Defender LaNelle C. DuRant, for Petitioner.
        Attorney
          General Henry D. McMaster, Chief Deputy Attorney John W. McIntosh, Assistant
          Deputy Attorney General Salley W. Elliott, and Assistant Attorney General S.
          Prentiss Counts, all of Columbia, for Respondent.&nbsp; 
      
    
  

PER
  CURIAM:&nbsp; Petitioner seeks a writ of certiorari from
  the denial of his application for post-conviction relief (PCR).&nbsp; 
Because
  the State did not challenge the PCR court's finding Petitioner did not knowingly
  and intelligently waive his right to a direct appeal, we grant certiorari and proceed with a review
  of the direct appeal issue pursuant to Davis v. State, 288 S.C. 290, 342
  S.E.2d 60 (1986).
After
  a thorough review of the record and counsel's brief, pursuant to Anders v.
    California, 386 U.S. 738 (1967) and State v. Williams, 305 S.C. 116,
  406 S.E.2d 357 (1991), we dismiss[1] Petitioner's appeal and grant counsel's motion to be
  relieved.
APPEAL
  DISMISSED. 
HUFF, WILLIAMS,
and KONDUROS, JJ., concur.&nbsp; 


[1] We decide this case without oral argument pursuant to
Rule 215, SCACR.

